Case 1:22-cv-04608-AKH Document 1-1 Filed 06/03/22 Page 1 of 3




               EXHIBIT A
            Case 1:22-cv-04608-AKH Document 1-1 Filed 06/03/22 Page 2 of 3



          NOTICE OF TERMINATION OF COPYRIGHT GRANT PURSUANT TO
                           17 U.S.C. SECTION 203

 Chicken Soup For the Soul Entertainment, Inc.      Halcyon Television, LLC
 132 East Putnam Avenue, Floor 2W                   132 East Putnam Avenue, Floor 2W
 Cos Cob, CT 06807-0700                             Cos Cob, CT 06807-0700

          Re:    Notice of Termination of Copyright Grant by Lam; J. McMurtry

        PLEASE TAKE NOTICE that, pursuant to section 203 of the United States Copyright
Act of 1976, 17 U.S.C. section 203(a), the undersigned, James L. McMurtry, residing at 1517
Sunrise Terrace, Lockhart, TX 78644, and Norma Faye Kesey McMurtry, residing at 550 Pearl
Street, Apt. 405, Eugene, OR 97401-1606, hereby terminate the grant of rights for the work
entitled "Lonesome Dove" (the "Work") written by Larry J. McMurtry (the "Author"),
including, but not limited to, all grants and transfers of copyright, all rights of the copyright
proprietor and all publication rights under copyright made pursuant to the applicable agreement
in connection with such Work, i.e., the Agreement between Author and Motown Productions
dated March 18, 1985, and executed by the Author on March 22, 1985 ("Agreement").

          This Notice will be recorded with the U.S. Copyright Office in compliance with law.

       The attached Schedule A ("Schedule") sets forth the: (1) effective date of termination; (2)
applicable agreement and execution date; (3) original grantee and successors-in-interest; (4)
regishation numbers and dates; (5) date of publication of the Work, all as applicable.

        Based on a reasonable investigation of the available records, it appears that Chicken Soup
for the Soul Entertainment, Inc. and Halcyon Television, LLC, at the address listed above, are
the current owners of or claimants to the rights in and to the Work under the Agreement, as
successors-in-interest to the original grantee, as set forth in the attached Schedule.

        This Notice is being served upon Chicken Soup for the Soul Entertainment, Inc. and
Halcyon Television, LLC and effected by James L. McMurtry, the sole child of the Author, and
by Norma Faye Kesey McMurtry, the surviving widow of the Author, who together hold the
right and authority to execute this Notice of Termination. Accordingly, this Notice is signed by
all persons necessary to terminate the grant of copyright pursuant to 17 U.S.C. section 203.

        A copy of this Notice was mailed to the current claimants/successors-in-interest to the
original grantee at the address above by Certified Mail, Return Receipt Requested, on February
10 2022.

 Dated:     11\day o                2022             Dated: 31 day of                  2022

                                                                 a                hiAJAkt.Lig-
J*rnes L. McMurtryy                                  Norma Faye Ktsey McMi
/1/517 Sunrise Terrace                               550 Pearl Street, Apt. 405
Lockhart, TX 78644                                   Eugene, OR 97401-1606
          Case 1:22-cv-04608-AKH Document 1-1 Filed 06/03/22 Page 3 of 3



    SCHEDULE A TO THE NOTICE OF TERMINATION OF COPYRIGHT GRANT
                   PURSUANT TO 17 U.S.C. SECTION 203


Author: Larry J. McMurtry

Work Lonesome Dove

Registration No./date: TX0001585164 (6/5/1985)

Date of creation: 1984

Copyright Claimant: Larry J. McMurtry

Publication date: (Lonesome Dove miniseries): 2/5/1989

Author executing grant: Larry J. McMurtry

Individuals effecting notice of termination of grant: James L. McMurtry (Author's sole child)
and Norma Faye Kesey McMurtry (Author's widow)

Agreement and date: Agreement between Larry I McMurtry and Motown Productions dated
March 18, 1985, and executed by Author on March 22, 1985

Original grantee and successors-in-interest: Motown Productions, Robert Halmi, Inc., Qintex
Productions, Inc., RHI Entertainment, Inc., Hallmark Entertainment, Sonar Entertainment
Productions, LLC

Current owner/claimant of rights under Agreement/successors-in-interest: Chicken Soup for the
Soul Entertainment, Inc., Halcyon Television, LLC

Address of current owner/claimant of rights under Agreement/successors-in-interest: 132 East
Putnam Avenue, Floor 2W, Cos Cob, CT 06807-0700

Effective date of termination: February 15, 2024
